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                     Label #5 (OPTIONAL)
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                            Label #6 - Return Receipt Barcode (Sende/s Record)


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Matthew Kelly

From:                           Nobody <nobody@informe.org>
Sent:                           Wednesday, April 7, 2021 3:56 PM
To:                             Matthew Kelly
Subject:                        Pre-Foreclosure Reporting Form Submission




Your pre‐fore losure reporti g for has ee su essfull su itted to the Bureau of Co su er Credit Prote tio . Here
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Salt Lake Cit , UT
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Co su er Address State:ME
Co su er Address zip ode:



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Matthew Kelly

From:                           Nobody <nobody@informe.org>
Sent:                           Wednesday, April 7, 2021 3:58 PM
To:                             Matthew Kelly
Subject:                        Pre-Foreclosure Reporting Form Submission




Your pre‐fore losure reporti g for has ee su essfull su itted to the Bureau of Co su er Credit Prote tio . Here
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Salt Lake Cit , UT
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Co su er First a e:Neil
Co su er Middle I itial/Middle Na e: J.
Co su er Last a e:Tuttle
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Matthew Kelly

From:                           Nobody <nobody@informe.org>
Sent:                           Wednesday, April 7, 2021 4:00 PM
To:                             Matthew Kelly
Subject:                        Pre-Foreclosure Reporting Form Submission




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